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UNITED STATES DISTRICT COURT
DISTRICT OF NEW]`ERSEY

 

ROBERT WOMACK,

Plainciff,
V.

vERIzoN wIRELEss (vAw) LLc,

Def`endant.

Civil Case No.: 16-1716

 

VOLUNTARY DISMISSAI.. WITH PRE]UDICE

By stipulation of the undersigned, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), PlaintiH`

Robert Wornack, by and through his counsel, hereby gives notice that the above-captioned action

is dismissed with prejudice, which each party bearing its own costs and attorney’s fees.

Dated: April 28, 2016

/s/ Jeremy M. Glapion

]eremy M. Glapion

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IT IS 80 ORDERED:

 

FREDA L. WJWOLFSON, A)..:S.D.J

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